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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    CHICKEN SOUP FOR THE SOUL                               Case No. 24-11442 (TMH)
    ENTERTAINMENT INC., et al.,1
                                                            (Joint Administration Requested)
                            Debtors.


         DEBTOR’S MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
         AUTHORIZING THE DEBTORS TO CONTINUE ORDINARY COURSE
      BUSINESS RELATIONSHIP UNDER MANAGEMENT SERVICES AGREEMENT
              AND LICENSE AGREEMENT WITH PARENT COMPANY

             The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”)

hereby move (this “Motion”) for entry of an interim Order substantially in the form attached as

Exhibit A (the “Interim Order”) and a final Order substantially in the form attached as Exhibit B

(the “Final Order” and, together with the Interim Order, the “Proposed Orders”) granting the relief

requested below. In support of this Motion, the Debtors, through their undersigned counsel,

respectfully represent as follows:2

                                           RELIEF REQUESTED

             1.    By this Motion, pursuant to sections 105(a), 363(b), 1107(a), and 1108 of title 11

of the United States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”) and Rules 6003 and



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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number (where applicable), are: 757 Film Acquisition LLC (4300); Chicken Soup for the Soul
Entertainment Inc. (0811); Chicken Soup for the Soul Studios, LLC (9993); Chicken Soup for the Soul Television
Group, LLC; Crackle Plus, LLC (9379); CSS AVOD Inc. (4038); CSSESIG, LLC (7150); Digital Media Enterprises
LLC; Halcyon Studios, LLC (3312); Halcyon Television, LLC (9873); Landmark Studio Group LLC (3671);
Locomotive Global, Inc. (2094); Pivotshare, Inc. (2165); RB Second Merger Sub LLC (0754); Redbox Automated
Retail, LLC (0436); Redbox Entertainment, LLC (7085); Redbox Holdings, LLC (7338); Redbox Incentives LLC
(1123); Redwood Intermediate, LLC (2733); Screen Media Films, LLC; Screen Media Ventures, LLC (2466); and
TOFG LLC (0508). The Debtors’ corporate headquarters and service address is 132 East Putnam Avenue, Floor 2W,
Cos Cob, CT 06807.
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         The facts and circumstances supporting the relief requested herein are set forth in the First Day Declaration
(as defined below), filed contemporaneously herewith and incorporated herein by reference. Capitalized terms used
but not defined in this Motion have the meanings given in the First Day Declaration.


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6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtors seek

entry of the Proposed Orders (as defined below) (a) authorizing the Debtors to continue honoring

their existing course-of-dealing under the Management Agreement and the License Agreement

(each as defined below), including to pay the current amount due under those Agreements based

on that course of dealing; and (b) granting related relief. For the avoidance of doubt, the Debtors

by this Motion do not request authority to pay other accrued amounts owed under the two

Agreements.

         2.      For the reasons set forth below, the Debtors submit that the relief requested is in

the best interest of the Debtors, their estates, creditors, and other parties in interest.

                                  JURISDICTION AND VENUE

         3.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Pursuant to

Local Rule 9013-1(f), the Debtors consent to entry of a final Order by the Court in connection with

this Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final Orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

         4.      Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         5.      The statutory predicates for the relief requested by this Motion are sections 105(a),

363(b), 1107(a), and 1108 of the Bankruptcy Code, and such relief is warranted under Bankruptcy

Rules 6003 and 6004.




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                                          BACKGROUND

         6.      On the date hereof (the “Petition Date”), each Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code, thereby commencing the above-captioned cases

(collectively, the “Chapter 11 Cases”). The Debtors are authorized to continue operating their

businesses and managing their properties as debtors in possession under sections 1107(a) and 1108

of the Bankruptcy Code. No official committees have been appointed in the Chapter 11 Cases,

and no request has been made for the appointment of a trustee or an examiner.

         7.      Contemporaneously herewith, the Debtors have filed a motion requesting joint

administration of the Chapter 11 Cases under Bankruptcy Rule 1015(a).

         8.      Additional information regarding the Debtors’ business, their capital structure, and

the circumstances leading to the filing of the Chapter 11 Cases is set forth in the Declaration of

William J. Rouhana, Jr., Chairman of the Board, in Support of Debtors’ Chapter 11 Petitions and

First Day Motions (the “First Day Declaration”).

                              THE MANAGEMENT AGREEMENT

         9.      Debtor Chicken Soup for the Soul Entertainment Inc. (“CSSE”) and nondebtor

affiliates Chicken Soup for the Soul, LLC (“Parent”), Chicken Soup for the Soul Digital, LLC, and

Chicken Soup for the Soul Productions, LLC (collectively, with Parent, the “Service Providers”)

are parties to the Management Agreement dated May 12, 2016 (as amended, the “Management

Agreement”), Under the Management Agreement, the Service Providers provide the Debtors with

the broad operational expertise of Parent and its subsidiaries and personnel, including the services

of its chairman and chief executive officer, William Rouhana, its senior brand advisor and director,

Amy Newmark, and the CSS chief financial officer, Christopher Mitchell. The CSS Management

Agreement also provides for additional services such as accounting, legal, marketing,




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management, data access and back-office systems, and provides the Debtors with office space and

equipment usage. Attached as Exhibit C hereto is a true and correct copy of the Management

Agreement.

         10.     For these services, the Debtors pay the Service Parties a quarterly fee (the

“Management Fee”) equal to 5% of their gross revenues as reported by CSSE under GAAP for

each fiscal quarter. The Management Fee pays for, among other things, the direct cost to the

Services Providers of the salary and benefits of the personnel that are made available to the

Debtors, insurance premiums, and other direct operating expenses.

         11.     Under section 2.2 of the Management Agreement, Service Providers were also

entitled to charge a 20% sales commission fee. However, on August 1, 2019, CSSE and Service

Providers entered into an amendment of the Management Agreement, pursuant to which the parties

agreed to delete section 2.2 in its entirety retroactively to May 12, 2016. No amounts had ever

been due or paid pursuant to section 2.2 of the Management Agreement.

                                    THE LICENSE AGREEMENT

         12.     In addition, Parent and CSSE are party to that certain License Agreement (the

“License Agreement”) dated as of May 12, 2026, under which Parent granted to CSSE a perpetual,

exclusive, worldwide right and license to create, design, develop, publish, manufacture, advertise,

promote, market, sell, use, and otherwise exploit the Licensed Rights.          Under the License

Agreement, the Licensed Rights include the right to exploit the “Chicken Soup for the Soul” brand

and related content, and any related trademark, copyright, and design and derivative thereof,

including stories published in the Chicken Soup for the Soul books as well as the production and

distribution of video content. Attached as Exhibit D hereto is a true and correct copy of the License

Agreement.




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         13.     For this license, CSSE pays Parent an incremental recurring license fee equal to 4%

of its gross revenues as reported by CSSE under GAAP for each fiscal quarter plus a quarterly

marketing fee equal to 1% of gross revenues as reported under GAAP for each fiscal quarter by

CSSE (collectively, the “Licensing Fees”).

                      THE PARTIES’ ORDINARY COURSE DEALINGS

         14.     Beginning in early 2023, the Debtors were no longer able to remain current on their

obligations under the Management and License Agreements, including their obligations to pay the

quarterly Management Fees and Licensing Fees.             Accordingly, in March 2023, the CSS

Management Agreement and License Agreement were modified to provide for (i) approximately

$3.45 million in aggregate fees earned under the two agreements in the first quarter of 2023 and

(ii) 25% of the next $51 million of such fees that will be earned by CSS thereafter to be paid in

Class A shares of common stock in CSSE at a fixed price of $3.05 per share. As of March 31,

2024, CSSE has issued an aggregate of 2,096,688 shares of Class A common stock to CSS under

this modified arrangement, and another $9.8 million of future management and license fees will

be offset by the issuance of Class A common stock to CSS in the periods after March 31, 2024.

As of this filing, the cash portion of the outstanding management and license fees owed to Parent

and the other Service Parties totaled well over $5 million.

         15.     Notwithstanding this accommodation, the effect of the Debtors’ inability to pay its

Management and Licensing Fee obligations both current and in cash put increased pressure on

Parent, which was effectively compelled to advance on a weekly or monthly basis for the direct

costs associated with the services provided, including payroll expense, insurance premiums, and

other such direct operating expenses. To alleviate this pressure and “normalize” the cash flow

relating to these otherwise ordinary operating expenses, the parties developed a course of dealing




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in which CSSE remits funds to Parent on a weekly or monthly basis for the actual pass-through

cost of necessary operating expenses, including (i) approximately $750,000 per month for the

salary and benefits of the employees whose services are provided to the Debtors, office rent and

related supplies, and legal and consulting fees; (ii) $100,000 to $250,000 per month for insurance

premiums (depending on which policy premiums are due in that month); and approximately

$163,000 per week on average for IT support and hosting. The projected amounts to be paid by

the Debtors in the coming weeks are consistent with these historical averages and set forth in detail

in the budget (the “DIP Budget”) accompanying the Debtors’ motion for approval of postpetition

“DIP” financing.

         16.     These amounts are meticulously tracked and accounted for by the parties and

reconciled periodically to the Debtors’ quarterly obligations, although the net effect is still a

substantial underpayment of the Debtors’ contractual amounts owed under the Management and

License Agreements.

         17.     Again, for the avoidance of doubt, the Debtors do not seek authority by this Motion

to pay that larger past-due amount, but only to continue making payments to the Parent consistent

with their present course of dealing, including that that amount—consistent with the DIP Budget—

that might be construed to have accrued prepetition and would ordinarily have been paid under the

parties’ present course of dealing.

                                       BASIS FOR RELIEF

    A. The Debtors Should Be Authorized to Make Pre-Petition Payments Under the
       Management and License Agreements Pursuant to Sections 363(b) and 105(a).

         18.     Sections 363(b) and 105(a) of the Bankruptcy Code allow the Court to approve the

Debtors’ payments to Parent pursuant to the Management Agreement and the License Agreement

(collectively, the “Agreements”). Under section 363(b)(1) of the Bankruptcy Code, a debtor may,



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in the exercise of its sound business judgment and after notice and a hearing, “use, sell or lease,

other than in the ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(1); see

also Official Comm. of Unsecured Creditors of LTV Aerospace & Defense Co. v. LTV Corp. (In

re Chateaugay Corp.), 973 F.2d 141, 143 (2d Cir. 1992) (holding that a court may approve an

application under Section 363(b) upon a showing of a good business reason for the disposition).

For a court to approve the use, sale, or lease of estate property under section 363(b) of the

Bankruptcy Code, the debtor must “articulate some business justification, other than mere

appeasement of major creditors . . . .” In re Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr.

S.D.N.Y. 1989) (holding that the debtor’s payment of prepetition claims was necessary to protect

its business and to ensure successful reorganization). When a debtor can articulate a reasonable

basis for its business decisions, “courts will generally not entertain objections to the debtor’s

conduct.” In re Filene’s Basement, LLC, 2014 Bankr. LEXIS 2000, at *39–40 (Bankr. D. Del.

Apr. 29, 2014) (quoting In re Johns-Manville Corp., 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986));

see also In re Tower Air, Inc., 416 F.3d 229, 238 (3d Cir. 2005) (“Overcoming the presumptions

of the business judgment rule on the merits is a near-Herculean task.”).

         19.     Section 105(a) of the Bankruptcy Code grants the Court authority to “issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of [the

Bankruptcy Code].” 11 U.S.C. § 105(a). A bankruptcy court’s use of its equitable powers to

“authorize the payment of pre-petition debt when such payment is needed to facilitate the

rehabilitation of the debtor is not a novel concept.” Ionosphere Clubs, 98 B.R. at 175. Section

105 allows a court to authorize the “pre-plan payment of a pre-petition obligation when essential

to the continued operation of the debtor.” In re NVR L.P., 147 B.R. 126, 127 (Bankr. E.D. Va.

1992) (citing Ionosphere Clubs, 98 B.R. at 177).




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         20.      The Debtors submit that pre-petition payments under the Agreements are necessary

and may be authorized under sections 363(b) and 105(a) of the Bankruptcy Code pursuant to the

“doctrine of necessity,” which “recognizes the existence of the judicial power to authorize a debtor

in a reorganization case to pay prepetition claims where such payment is essential to the continued

operation of the debtor.” Ionosphere Clubs, 98 B.R. at 176.3 In a chapter 11 case, the doctrine of

necessity enables the bankruptcy court to exercise its equitable power and allow payment of

prepetition claims. See In re Lehigh & New England Ry. Co., 657 F.2d 570, 581 (3d Cir. 1981)

(holding that a court may authorize payment of prepetition claims when payment is essential to

continued operation of the debtor, such as where there is a “possibility that the creditor will employ

an immediate economic sanction, failing such payment”); In re Penn Cent. Transp. Co., 467 F.2d

100, 102 n.1 (3d Cir. 1972) (holding that the doctrine of necessity “permit[s] immediate payment

of claims of creditors where those creditors will not supply services or material essential to the

conduct of the business until their pre-reorganization claims shall have been paid”); In re Columbia

Gas Sys., Inc., 171 B.R. 189, 191-92 (Bankr. D. Del. 1994) (noting that debtors may pay prepetition

claims that are essential to continued operation of business).                    “[F]acilitating the continued

operation and rehabilitation of the debtor” is a paramount goal of both the doctrine of necessity

and chapter 11. In re Ionosphere Clubs, Inc., 98 B.R. at 176.




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         Accord In re Pers. Commc’ns Devices, LLC, 588 B.R. 661, 666 (Bankr. E.D.N.Y. 2018); see also In re
Friedman’s Inc., No. 09-10161 (CSS), 2011 WL 5975283, at *3 (Bankr. D. Del. Nov. 30, 2011) (“Normally, a debtor
only pays prepetition, unsecured claims through a confirmed plan of reorganization . . . [h]owever, most courts will
allow such payments under the ‘doctrine of necessity,’ if the debtor establishes that in its business judgment making
such payments is critical to the survival of the debtor’s business.”); In re Just for Feet, Inc., 242 B.R. 821, 825 (D.
Del. 1999) (“The Supreme Court, the Third Circuit and the District of Delaware all recognize the court’s power to
authorize payment of prepetition claims when such payment is necessary for the debtor’s survival during chapter 11.”);
In re Eagle-Picher Indus., Inc., 124 B.R. 1021, 1023 (Bankr. S.D. Ohio 1991) (“[T]o justify payment of a prepetition
unsecured creditor, a debtor must show that the payment is necessary to avert a serious threat to the chapter 11
process.”).


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         21.     The relief requested in this Motion is an appropriate exercise of the Debtors’

business judgment under sections 363(b) and 105(a) of the Bankruptcy Code. If the Service

Providers do not continue providing the Services pursuant to the Management Agreement, the

Debtors are at risk of immediate and irreparable harm. In the exercise of their business judgment,

the Debtors have determined that payment under the Management Agreement is essential to its

ongoing operations. Likewise, the Debtors, in the exercise of their business judgment, have

determined that payment of prepetition amounts owing under the License Agreement is essential

to avoid immediate and irreparable harm to its ongoing operations.

    B. The Debtors Should Be Authorized to Make Pre-Petition Payments Under the
       Agreements Pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

         22.     Pursuant to sections 1107(a) and 1108 of the Bankruptcy Code, the Debtors are

operating their businesses as debtors-in-possession. Accordingly, they are fiduciaries “holding the

bankruptcy estate[s] and operating the business[es] for the benefit of [their] creditors and (if the

value justifies) [their] equity owners.” In re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr. N.D. Tex.

2002). A chapter 11 debtor in possession has the implicit duty “to protect and preserve the estate,

including an operating business’s going-concern value.” Id.

         23.     Under certain circumstances, a debtor in possession can fulfil its fiduciary duty

“only . . . by the preplan satisfaction of a prepetition claim.” Id. The CoServ court noted that

preplan satisfaction of prepetition claims would be a valid exercise of a debtor’s fiduciary duty

when the payment “is the only means to effect a substantial enhancement of the estate.” Id. The

court outlined a three-prong test for determining whether a preplan payment on account of a

prepetition claim was a valid exercise of a debtor’s fiduciary duty:

                 First, it must be critical that the debtor deal with the claimant.
                 Second, unless it deals with the claimant, the debtor risks the
                 probability of harm, or, alternatively, loss of economic advantage to



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                  the estate or the debtor’s going concern value, which is
                  disproportionate to the amount of the claimant’s prepetition claim.
                  Third, there is no practical or legal alternative by which the debtor
                  can deal with the claimant other than by payment of the claim.

 Id. at 498.

         24.      Payment of the Management Fee pursuant to the Service Agreement meets all three

CoServ elements. First, it is critical that the Debtors deal with Parent because Parent provides

various management, administrative, and technical services that are imperative to the Debtors’

ongoing operations. Second, the Debtors believe that Parent would be unable to provide the

Services postpetition if their prepetition balances are not paid. In fact, if the relationship between

CSSE and Parent is severed, both companies risk becoming financially distressed. Consequently,

failing to pay Parent the Management Fee harms the Debtors financially because losing access

postpetition to the Services may force the Debtors to stop ongoing operations and cause irreparable

harm. Third, there is no practical or legal alternative to payment of the claim. Thus, the Debtors

submit that paying the Management Fee is a sound exercise of their fiduciary duties as debtors in

possession under sections 1107(a) and 1108 of the Bankruptcy Code.

         25.      Likewise, payment of current prepetition Licensing Fees owing under the License

Agreement meets each CoServ element. First, it is critical that the Debtors deal with Parent

because Parent licensed the exclusive right to exploit the name “Chicken Soup for the Soul” to

CSSE. Without such license, the Debtors cannot exploit the name “Chicken Soup for the Soul”

and its related trademark, copyright, and design to produce Video Content. Second, loss of the

license would result in disastrous harm to the Debtors because the mark “Chicken Soup for the

Soul” is the most recognizable brand of the Debtors’ businesses. Third, t there is no practical or

legal alternative to payment of the claim.




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    C. The Court Should Authorize the Debtors to Continue Paying Parent Postpetition in
       the Ordinary Course of Business Under the Agreements.

         26.       The Debtors respectfully request that they be allowed to continue paying Parent

pursuant to the Agreements consistent with their established course of dealing. Such payments

are necessary to enable Parent to continue providing critical employees, insurance coverage, and

other services upon which the Debtors rely to continue their own business and fulfill their

obligations as debtors in possession in these Chapter 11 Cases.

         27.       Among other services, the Management Agreement provides for the payment for

services that the Debtors are already obligated to pay. For example, under the Management

Agreement, Parent provides health insurance for CSSE employees—a payment that CSSE would

have to pay on its own if it was not provided for under the Management Agreement.

         28.       Additionally, both Parent and the Debtors rely on the Agreements to remain

financially afloat. If the business relationship between Parent and CSSE were destroyed, both

companies risk becoming financially distressed.

         29.       Although the Debtors do not assume the Agreements pursuant to this Motion, the

Debtors believe the Services and license provided under the Agreements are actual and necessary

costs of preserving its estate. Accordingly, the Debtors should be permitted to continue to pay for

the Services and license pursuant to the Agreements.

                 THE DEBTORS HAVE SATISFIED BANKRUPTCY RULE 6003(b)

         30.       Bankruptcy Rule 6003(b) provides that, to the extent relief is necessary to avoid

immediate and irreparable harm, a bankruptcy court may issue an order granting “a motion to use,

sell, lease, or otherwise incur an obligation regarding property of the estate, including a motion to

pay all or part of a claim that arose before the filing of the petition” before 21 days after filing the

petition. Fed. R. Bankr. P. 6003(b). As described above and in the First Day Declaration, the



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relief requested in this Motion is essential to the Debtors’ ongoing operations. Accordingly, the

Debtors submit that they have satisfied the requirements of Bankruptcy Rule 6003(b) because the

relief requested herein is necessary to avoid immediate and irreparable harm.

                 BANKRUPTCY RULES 6004(a) AND (h) SHOULD BE WAIVED

         31.      To the extent that any aspect of the relief sought by this Motion constitutes a use of

property under section 363(b) of the Bankruptcy Code, the Debtors respectfully request that the

Court find that notice of this Motion is adequate under Bankruptcy Rule 6004(a) under the

circumstances and waive the fourteen (14) day stay under Bankruptcy Rule 6004(h). As described

above and in the First Day Declaration, the relief requested by this Motion is necessary for the

Debtors to be able to continue to operate their businesses and preserve the value of their estates.

Accordingly, ample cause exists to justify finding that the notice requirements under Bankruptcy

Rule 6004(a) have been satisfied and to grant a waiver of the 14-day stay imposed by Bankruptcy

Rule 6004(h).

                                    RESERVATION OF RIGHTS

         32.      Nothing contained in the Proposed Orders or this Motion (i) is intended or shall be

deemed to constitute an assumption of any agreement pursuant to section 365 of the Bankruptcy

Code or an admission as to the validity of any claim against the Debtors and their estates; (ii) shall

impair, prejudice, waive, or otherwise affect the rights of the Debtors and their estates with respect

to the validity, priority, basis, or amount of any claim against the Debtors and their estates;

(iii) shall impair, prejudice, waive, or otherwise affect the rights of the Debtors and their estates

with respect to any and all claims or causes of action; or (iv) shall be construed as a promise to

pay a claim.




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                                               NOTICE

         33.      Notice of this Motion has or will be provided to (i) the Office of the United States

Trustee for the District of Delaware; (ii) the holders of the thirty (30) largest unsecured claims

against the Debtors’ estates on a consolidated basis; (iii) counsel to Owlpoint IP Opportunities JVF

I LP; (iv) counsel to HPS Investment Partners, LLC; (v) counsel to U.S. Bank National

Association, as trustee for the 9.500% Notes due 2025; (vi) the Office of the United States Attorney

for the District of Delaware; (vii) the Internal Revenue Service; (viii) the United States Securities

and Exchange Commission; (ix) any party that has requested notice pursuant to Bankruptcy Rule

2002; and (x) any other party in interest entitled to notice of this Motion pursuant to Local Rule

9013-1(m). As this Motion is seeking “first day” relief, within two (2) business days of the hearing

on this Motion, the Debtors will serve copies of this Motion and any Order entered in respect of

the Motion as required by Local Rule 9013-1(m). Based on the urgency of the circumstances

surrounding this Motion and the nature of the relief requested herein, the Debtors respectfully

submit that no other or further notice is necessary.

                                       NO PRIOR REQUEST

         34.      No prior request for the relief sought by this Motion has been made to this Court or

any other court.

                                           CONCLUSION

         WHEREFORE, the Debtors respectfully request that the Court: (i) enter the proposed

Interim Order, substantially in the form attached as Exhibit A, granting the relief requested in this

Motion on an interim basis and scheduling a final hearing on the Motion, and thereafter; (ii) enter

the proposed Final Order, substantially in the form attached as Exhibit B; and (iii) grant such other

relief to the Debtors as is appropriate.




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Dated: June 29, 2024                                 Respectfully submitted,
       Wilmington, Delaware

 ASHBY & GEDDES, P.A.                           REED SMITH LLP

 /s/ Ricardo Palacio
 Ricardo Palacio (DE Bar No. 3765)              Mark W. Eckard (No. 4542)
 Gregory A. Taylor (DE Bar No. 4008)            1201 North Market Street, Suite 1500
 500 Delaware Avenue, 8th Floor                 Wilmington, DE 19801
 Wilmington, DE 19899-1150                      Telephone: 302.778.7500
 Telephone: (302) 654-1888                      Facsimile: 302.778.7575
 Facsimile: (302) 654-2067                      MEckard@ReedSmith.com
 RPalacio@ashbygeddes.com
 GTaylor@ashbygeddes.com
                                                - and -

 Michael P. Cooley (pro hac vice pending)       Luke A. Sizemore (pro hac vice pending)
 2850 N. Harwood St., Suite 1500                Reed Smith Centre
 Dallas, TX 75201                               225 Fifth Avenue, Suite 1200
 Telephone: 469.680.4200                        Pittsburgh, PA 15222
 MPCooley@ReedSmith.com                         Telephone: 412.288.3334
                                                LSizemore@ReedSmith.com

                                                Proposed Counsel for the Debtors and
                                                Debtors-in-Possession




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